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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:14CR36
                                            )
             Plaintiff,                     )
                                            )                    ORDER
             vs.                            )
                                            )
JULIA L. WHITESKUNK,                        )
                                            )
             Defendant.                     )


      This matter is before the Court on the government’s Motion For Dismissal (Filing No.

54). Under Federal Rule of Criminal Procedure 48(a), leave of court is granted for the

dismissal of the Indictment against the above-named Defendant.

      IT IS ORDERED that the government’s Motion For Dismissal (Filing No. 54) is

granted.

      DATED this 3rd day of October, 2014.

                                         BY THE COURT:


                                         s/Laurie Smith Camp
                                         Chief United States District Judge
